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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                     )
                                                )
                         Plaintiff,             )
                                                )
                   V.                           )       CAUSE NO. 1:22-cr-0243-JPH-DML
                                                )
  NATHAN CANARY,                                )
                                                )
                          Defendant.            )


                                               ORDER

        This matter comes before the Court on the Motion of the United States for an order

 dismissing the Indictment as to defendant Nathan Canary. Upon consideration of the same, the

 Court grants the Motion.

        IT IS THEREFORE ORDERED that the Indictment (Dkt. 15) is dismissed as to the

 above-captioned defendant.

        So ORDERED.




 Distribution to all registered counsel via electronic notification.

 United States Probation Office
